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                      UNITED STATES DISTRICT COURT FOR THE
                         SOUTHERN DISTRICT OF GEORGIA
                                AUGUSTA DIVISION

                                                *
UNITED STATES OF AMERICA                        *
                                                *
              v.                                *             CR 1:17-34
                                                *
Reality Leigh Winner                            *
                                                *
        Defendant                               *
                                          *************

  GOVERNMENT’S RESPONSE TO MOTION OF THE REPORTERS COMMITTEE
 FOR FREEDOM OF THE PRESS TO INTERVENE TO SEEK ACCESS TO CERTAIN
                     SEALED COURT RECORDS

       On March 7, 2019, the Reporters Committee for Freedom of the Press (“RCFP”) moved

to intervene for the limited purpose of seeking access to certain sealed court records relating to

the above-captioned case. See Dkts. 333, 334. Specifically, RCFP seeks: (1) “any and all

applications and supporting documents, including affidavits” concerning the investigation and

prosecution of this case; and (2) “any court orders granting or denying,” or any other court

records relating to, applications for (a) search warrants, (b) orders authorizing the use of pen

registers or trap and trace devices, and (c) orders authorized under Title 18, United States Code,

Section 2703(d). Dkt. 333 at 1.

       The Government has identified search warrants and orders authorized under Title 18,

United States Code, Section 2703(d) that remain under seal. The orders accompanying the

applications for each of these warrants and orders found that sealing would further the legitimate

prosecutorial interest in preserving the integrity of the ongoing criminal investigation and

prosecution. After review, the Government has determined that the stated basis for sealing no
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longer exists. Accordingly, the Government will move to unseal all of the documents associated

with the search warrants and orders authorized under Title 18, United States Code, Section

2703(d) in this case.

        The Government anticipates that it will be in a position to move to unseal all of the items

RCFP seeks within approximately thirty days. In those motions, the Government will present

redacted versions of the documents to the Court in order to, inter alia, protect the privacy and

ensure the security of the individual(s) at issue in the filings. If and when the Court grants the

Government’s motions, the Government expects that the redacted versions of the documents will

be placed on the public docket.

        The scope of the Government’s response is limited to the types of filings referenced in

the RCFP’s Application—specifically, search warrants, orders authorizing the use of pen

registers and/or trap and trace devices, orders issued pursuant to Title 18, United States Code,

Section 2703(d), affidavits and applications in support of such authorities, and orders granting or

denying such authorities.

        Based on the foregoing, the Government respectfully requests that the Court refrain from

ruling on the RCFP motion until such time that the motion can be satisfied or otherwise rendered

moot.

                                              Respectfully submitted,

                                              BOBBY L. CHRISTINE
                                              UNITED STATES ATTORNEY

                                              //s// Jennifer G. Solari



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                              Assistant United States Attorney

                              //s// David C. Aaron

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                              //s// Julie Edelstein

                              Julie Edelstein
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                              U. S. Department of Justice
                              National Security Division




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                                 CERTIFICATE OF SERVICE

       This is to certify that I have on this day served all the parties in this case in accordance

with the notice of electronic filing (“NEF”) which was generated as a result of electronic filing in

this Court.

       This 21st day of March 2019.


                                              BOBBY L. CHRISTINE
                                              UNITED STATES ATTORNEY

                                              //s// Jennifer G. Solari

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                                              Assistant United States Attorney

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